                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

UNITED STATES OF AMERICA                           )         COLLIER/CARTER
                                                   )
v.                                                 )         CASE NO. 1:12-CR-148
                                                   )
TIMOTHY JOE SWALLOWS                               )

                                            ORDER

       On July 2, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant Timothy Joe Swallows’

(ADefendant@) plea of guilty to Count Two of the Indictment, in exchange for the undertakings

made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

of the charges set forth in Count Two of the Indictment; (c) that a decision on whether to accept the

plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

sentencing in this matter (Court File No. 95). Neither party filed an objection within the given ten

days. After reviewing the record, the Court agrees with the magistrate judge=s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Count Two of the Indictment in exchange for the

undertakings made by the government in the written plea agreement is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Two of the

Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN in custody pending sentencing on Thursday,




Case 1:12-cr-00148-CLC-CHS           Document 97        Filed 07/21/14      Page 1 of 2      PageID
                                           #: 265
November 20, 2014, at 2:00 pm.

      SO ORDERED.

      ENTER:

                                                /s/____________________________
                                                CURTIS L. COLLIER
                                                UNITED STATES DISTRICT JUDGE




                                         2


Case 1:12-cr-00148-CLC-CHS       Document 97     Filed 07/21/14   Page 2 of 2   PageID
                                       #: 266
